                        UNITED STATES COURT OF APPEALS
                            FOR THE EIGHTH CIRCUIT

                                       ___________________

                                           No: 24-1946
                                       ___________________

                                   United States Steel Corporation

                                                        Petitioner

                                                   v.

    U.S. Environmental Protection Agency; Michael S. Regan, Administrator, United States
                             Environmental Protection Agency

                                       Respondents
______________________________________________________________________________

       Petition for Review of an Order of the Environmental Protection Administration
                                 (EPA-HQ-OAR-2017-0664)
______________________________________________________________________________

                                            JUDGMENT


Before LOKEN, SMITH and STRAS, Circuit Judges.

        Respondents’ motion to transfer the Petition for Review to the United States Court of

Appeals for the D.C. Circuit is granted. Pursuant to the provisions of 28 U.S.C. Section 1631, the

case is hereby transferred to the United States Court of Appeals for the D.C. Circuit. The clerk

shall take all steps necessary to transfer the case.

                                                          June 18, 2024




Order Entered at the Direction of the Court:
Acting Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
           /s/ Maureen W. Gornik




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